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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA,                           CIVIL ACTION NO.
               Plaintiff,                           2:12-CV-01924-SM-DPC

V.                                                  JUDGE SUSIE MORGAN

CITY OF NEW ORLEANS,                                MAG. DONNA PHILLIPS CURRAULT
               Defendant.


                           REPLY BRIEF IN SUPPORT
                 OF MOTION TO TERMINATE THE CONSENT DECREE
                                     BY
                          THE CITY OF NEW ORLEANS




        Respectfully submitted this 21st day of April 2023,

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I.      PERFECTION IS AN UNATTAINABLE STANDARD

        In exchange for the sweeping reforms of the Decree, DOJ agreed to hand off

compliance evaluation to a monitor that would focus on systemic constitutional faults using

agreed upon methods and reports. Now, faced with losing control over NOPD, the DOJ shifts

to a perfection-based model – asserting that any example of policy violation by an officer

renders NOPD incapable of self-management. 1 This was not the agreement, and it highlights

the growing chorus that consent decrees are a trap for the unwary.

        DOJ’s opposition brief demonstrates the source of frustration for the NOPD and other

entities trapped in consent decrees. DOJ prepared a report in 2011 that stated NOPD was

riddled with systemic unconstitutional police policies and practices, with no functional

disciplinary safeguards. DOJ alleged that individuals in police custody died without real

investigations. Use of force was seldom investigated or even questioned according to the

report. Damaging and deadly police chases were allegedly accepted as part of the job. This

system, DOJ concluded, led to the systemic violations of the Fourth and Fourteenth

Amendment rights of New Orleans residents. That 2011 report was based on a 2010

investigation. That was then.

        Now, after 10 years of federal control at the molecular level, NOPD has rebuilt every

practice, procedure and training method of the force. Most NOPD officers only know the

Consent Decree-way as their entire careers have occurred under its rubric. By April of 2022,

NOPD had undisputedly reached full and effective compliance in at least 15 of the 17 areas of


1
 See, e.g., Oppo. at 30, Rec. Doc. 682 (“[T]he evidence above undermines its assertion of no
deviations from the Consent Decree’s purpose.”)
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the sweeping Decree. 2 The remaining two areas were expected to move into “the green”

within 90 days. And that announcement came years after the Court and Monitor publicly

announced NOPD was nearing the finish line. Today, eight months after the City filed the

instant motion, NOPD is in full and effective compliance with over 87% of the paragraphs of

the Decree. The remaining 13% includes 12.7% which the Monitor has marked as “under

review” and only 0.3% that do not technically match the Decree’s 2013 language. 3

       If the goal of the DOJ were to achieve the sweeping reforms of the Decree, it would

join the City in welcoming a transition from federal control to local elected control in

compliance with the Justice Department’s policy to focus only on areas which still need this

level of oversight. 4 “Ultimately, the Division’s goal is for its reform agreements to leave a law

enforcement agency with an enduring ability to self-correct when misconduct occurs and a

culture that strongly supports constitutional and effective policing—and to make these

changes as quickly and efficiently as possible.” 5 The DOJ’s opposition brief, unfortunately,

demonstrates a federal effort to perpetually retain control over local police departments as

perfection is not achievable in any organization. DOJ minimizes and dismisses the massive




2
  DOJ Opposition Brief (“Oppo.”) at 10, Rec. Doc. 682.
3
  “Under Review” is a new category employed by the Monitor. Previously the categories
where: (1) No Meaningful Progress, (2) Inadequate Progress, (3) Significant Progress, (4)
Nearing Full & Effective Compliance, and (5) Full & Effective Compliance. See
“Comprehensive Reassessment of the Consent Decree Monitor Pursuant To Paragraph 456 of
the NOPD Consent Decree, Released January 24, 2019,” Rec. Doc. 574-1, at 13
4
  See Review Of The Use Of Monitors In Civil Settlement Agreements And Consent Decrees
Involving State And Local Governmental Entities, at
www.justice.gov/ag/page/file/1432236/download
5
  “The Civil Rights Division’s Pattern and Practice Police Reform Work: 1994-Present,”
January 2017, at p. 37, at www.justice.gov/crt/file/922421/download.
                                                                                                2
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successes of the NOPD and then magnifies isolated statistics and episodes to irresponsibly

imply systemic problems.

         As a cursory review of any news article about its recent opposition brief highlights, the

DOJ cites a deadly chase, a Tazing incident, and a statistic from the Office of Independent

Police Monitor in New Orleans to make its case for a violent undisciplined NOPD. Buried in

the details is that: (i) the deadly chase was from four (4) years ago and resulted in four

officers being terminated and enhanced discipline for even justifiable chases thereafter; (ii)

the use of the Tazer in the example cited was found to be justified by the Civil Service

Commission after NOPD disciplined the officer; 6 and (iii) the cherry-picked statistics ignore

that the City and DOJ contractually agreed to the methods to gauge compliance to avoid either

side highlighting the individual instances and ignore the agreed upon methods for measuring

compliance.

         The DOJ does not think NOPD has reached its full potential. And that is true, as it is

for every institution, including the federal executive and judicial branches of government. The

constitutional limits on federal control over a sovereign city department, however, do not

empower either to maintain control once systemic violations of constitutional law have been

remedied. “[W]e all must remember that perfection is not the goal of the consent decree, full

and effective compliance is.” 7 Full and Effective compliance is obtained when NOPD has

drafted complaint policies, trained officers on those policies, and shown that the policies have

been put into practice – not that policies are never violated. NOPD has reached the goal set by

the Decree, and substantially satisfied its elements.



6
    Exh. 105, Dept. of Civil Service Decision, No. 9435.
7
    Exh. 116 at 8:23-25.
                                                                                                  3
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II.      THE CITY HAS SUBSTANTIALLY SATISFIED THE DECREE.

         The Fifth Circuit Court of Appeals explained that “substantial compliance” with a

consent decree excuses deviations that do not severely impair the consent decree’s purpose. 8

The purpose in this case was to provide constitutionally compliant policing services to

residents of New Orleans in response to DOJ’s allegations of violations of the Fourth and

Fourteenths Amendments of the Constitution. The data available today shows that after many

years of federal monitoring, NOPD has made incredible advancements. As the Court often

notes, “it’s actually quite remarkable what we have accomplished in less than a decade.” Exh.

114, at 9:9-24. And the Court has come to expect high levels of compliance from NOPD. 9 Of

the 17 categories for which the Decree directs fundamental changes, the Monitor and DOJ

agreed that as of April 2022, NOPD had satisfied 15, and the remaining two were expected to

be deemed compliant soon thereafter. 10 The District Court announced at the public hearing on

April 20, 2022 that it was hopeful that over the following three months NOPD would enter

into a two-year sustainment period after the remaining few areas were shown to be

compliant. 11 DOJ consented to this plan. 12




8
  Frew v. Young, No. 21-40028 (5th Cir. 2022) 2022 U.S. App. Lexis 1027* 2022 WL 135126
9
  Exh. 110, at 35:15 – 36:9 (“I’ve grown increasingly concerned about the impact of NOPD’s
staffing shortages and lack of resources are having on its ability to sustain the high level of
compliance we have grown accustomed to finding at these public hearings.”)
10
   See Exh. 115, Prepared Public Hearing Remarks of Jonathan S. Aronie, Lead Monitor,
NOPD Consent Decree Before Judge Susie Morgan, U.S. District Court For The Eastern
District of Louisiana, April 20, 2022.
11
   See Exh. 116 at 5:19-6:1 and OCDM presentation at
http://nopdconsent.azurewebsites.net/Media/Default/Documents/Reports/Loyola%20Proceedi
ng%20Deck%20-%20March%202021.pdf .
12
   See Exh. 106, DOJ Objections and Responses to Discovery
                                                                                                4
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        As the Court knows, “full and effective compliance” is the defined burden of proof the

City must meet to end federal monitoring under the first path of Paragraph 491. Rec. Doc.

565, at paras. 486, 491, 492. The City acknowledges that the Court has stated since then that it

never actually found any section in compliance. DOJ has joined this position, claiming it

never agreed NOPD was compliant with any section of the Decree. The City respectfully

disagrees. As expressed by the Deputy Chief of DOJ, initial compliance determinations had

been reached, and agreed to by all involved:

               We do want to acknowledge, and indeed applaud, the
               significant progress the City has made in implementing the
               consent decree. As the monitor has found, and we have
               agreed, the City has achieved initial compliance in 15 of
               the 17 substantive areas covered by the consent decree.
               …In the two remaining areas of the consent decree, stops,
               searches, and arrests and bias-free policing, the City is
               nearing compliance under one of the methods set forth in
               the consent decree. 13
               ….
               Pertinent to this hearing though are both the Department of
               Justice’s bases for agreeing to finding NOPD in
               substantial compliance, and the plan for the compliance
               plan going forward. We agree with the monitor’s
               determination that NOPD is now in substantial
               compliance based upon a number of steps that NOPD has
               taken, including the last two areas that we’ve discussed,
               performance evaluations and promotions. 14

And as the Monitor publicly explained, these initial determinations of the Court with DOJ

consent were critical to NOPD’s path to a final compliance determination:

               But Your Honor, it’s important that I take a minute and at
               least be very clear about what it means to put an area into
               the green. First, it means that NOPD has reasonably met



13
  Exh. 110, at 28:25 – 29:16.
14
  Exh. 116, at 78:15-21; see also, Exh. 103, 12/9/22 Mygatt letter, noting “Areas Previously
Found To Be In Compliance.”
                                                                                               5
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               its obligations under the consent decree in that area.
               And it means that the structures required by the consent
               decree are in place, they’re working, and they’re being
               audited. But it does not mean that everything is perfect. It
               does not mean that there isn’t room for further
               improvement. It does not mean that it’s exactly how we
               would do it if we ran the police department, but we don’t
               run the police department. What it means is that it is
               compliant with the consent decree. 15
               ….
               After today, Your Honor, assuming the Court approves
               our recommendations, the NOPD will be left with three
               areas of the consent decree that still need to be moved
               into the green. 16

Even this Court has recognized the success of NOPD’s reform effort, acknowledged

substantial compliance, stating:

               I do agree with your recommendation that the areas of supervision,
               performance evaluations and promotions should be moved into the
               green, as we say, to reflect that the department is in substantial
               compliance in these areas. 17

        As the City has noted previously, it is a significant and demoralizing change in

circumstances to have known and agreed upon compliance metric pulled out from under

NOPD’s feet ten years into the process without any reason whatsoever. Rec. Doc. 643. As the

Monitor publicly declared, “[t]his all matters Your Honor because getting all of the areas into

the green is what’s necessary to begin the two-year sustainment period. So every element of

the consent decree that moves into the green is one step closer to starting the sustainment

period.”) Exh. 110, at 18:1 – 19:25. This reversal (or revelation) renders all public hearings

before the Court effectively meaningless as they do not resolve any open issues. The City and




15
   Exh. 116, at 20:1-11.
16
   Exh. 116, at 22:9 – 11.
17
   Exh. 116, at 86:23 – 87:1.
                                                                                                 6
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NOPD cannot rely on a “compliance determination” until the final determination is made on

every paragraph at one time.

        This change is inequitable, and irrevocably harms the NOPD’s efforts to bring the

Decree to its natural conclusion. At a minimum, this change renders the Decree more onerous

on the City. It also conflicts with the Justice Department’s own policy that encourages partial

termination once compliance is sustained in specific areas. 18

        A.     Substantial Compliance Has Been Proven.

        In further support of its position, the NOPD has prepared Exhibit 108, which is the

most recent compilation of all parties’ input on what specific paragraphs NOPD is in

compliance with, which paragraph are still under review by the Monitor and DOJ, and which

paragraph require further proof. As of this filing, NOPD has undisputedly shown compliance

with 87% of the individual paragraphs of the Decree. Of the 13% remaining, less than 1.0% is

actually non-compliant, as opposed to “under review.” This is represented graphically below.

The second bar represents the Monitor’s latest position on compliance. But as shown in

Exhibit 108, NOPD has provided proof of compliance for most of the 33% the Monitor is still

reviewing.




18
  “Review of the use of monitors in civil settlement agreements and consent decrees
involving state and local governmental entities”, 9/13/2021, at pp. 8-9, at
www.justice.gov/ag/page/file/1432236/download
                                                                                                  7
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                                                     Total


 NOPD                                          87%                                            13%   0.7%




 OCDM                             66%                                                 33%           0.5%



        0%     10%     20%     30%       40%           50%      60%           70%   80%     90%     100%

                                 Compliant     Under Review   Not Compliant



         Exhibit 117 summarizes the compliance tracker (Exhibit 108) in a graphical format.

The City reasserts that even with those few paragraphs still to be met, NOPD has reached

“substantial compliance” as defined by the Fifth Circuit to terminate federal control. Federal

Rule of Civil Procedure 60(b)(5) authorizes the Court to relieve the City of New Orleans (the

“City”) from the Decree (R. Doc. 565) if the “decree has been satisfied or implemented.” 19

The Fifth Circuit Court of Appeals recently explained that Courts must give Rule 60(b)(5) a

“liberal construction,” and that “substantial compliance” with a consent decree excuses

deviations that do not severely impair the consent decree’s purpose. 20

         B.     A Holistic View Improves NOPD’s Compliance

         Looking from a different angle than a flat percentage of paragraphs, the NOPD has a

much better compliance rate than even the near-90% stated above. In terms of the 17 areas of

the Decree, the only area that NOPD views as in need of new modification is Secondary

Employment. To be clear, the system in place is compliant with goals of the Decree and

policies created and approved with Court and DOJ’s involvement and approval. But recent


19
  Chisom v. Edwards, 2022 U.S. Dist. LEXIS 100009, at *16 (E.D. La. May 24, 2022).
20
  Frew v. Young, No. 21-40028 (5th Cir. 2022) 2022 U.S. App. Lexis 1027* 2022 WL
135126
                                                                                                           8
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violations of NOPD’s policy have shown that the external system put in place to physically

separate NOPD work from external work has some blind spots that need to be addressed.

        Software systems need to address the now-separate timekeeping systems that have

allowed overlapping of hours to go undetected. Those fixes are in progress and will close the

backdoor that allowed some officers to overlap billing to NOPD and secondary employers.

        Outside of Secondary Employment, NOPD is fully and effectively compliant with the

Decree. It is not perfect, and never will be, but NOPD has met the extraordinarily high hurdles

set by the Decree. DOJ’s opposition fails to expose any systemic failures or material

deficiency using the measures of compliance agreed to in the Decree. The Monitor’s 2022

Annual Report raises additional issues which are addressed by NOPD’s response thereto,

attach as Exh. 121.

1.      Stop, Searches, and Arrests (SSA) (Section V)

        If the Decree were followed by DOJ and the Monitor, the Monitor should propose

audit methodologies and conduct audits on NOPD data. Instead, the Monitor has largely

hoisted its obligations to prepare audit methodologies and to conduct audits on NOPD. The

methodologies were agreed to by DOJ after extensive line-by-line edits. As a result of those

extremely detailed efforts, NOPD conducted an audit of Stop, Search and Arrest for March,

April and May of 2022. (Op. Ex. 1, Rec. Doc. 682-1) After the audit was completed NOPD

provided its report to DOJ and the Monitor. Each demanded changes to the report. Again, this

is not a process NOPD is obligated to undertake. In any regard, after resolving all comments

of DOJ and the Monitor, NOPD was finally allowed to publish its audit report on November

2, 2022.




                                                                                                9
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          DOJ cites this report as Exhibit 108 to its opposition. DOJ claims the audit report

shows that NOPD is not compliant with the Decree. 21 DOJ ignores the actual findings of the

audit. There were 38 SSA elements audited (measured for compliance) in June 2022. The

overall compliance score was 96% across all 38 elements. Of the 38 audited elements, 30

elements were in compliance, with only eight (8) below the 95% level, and of those eight (8)

only four (4) were below 90%. Quoting the PSAB audits is indicative of the good work PSAB

is doing in monitoring NOPD compliance and establishing corrective actions. That makes

NOPD compliant in relation to the Decree, as oversight and constant vigilance is key to what

is happening. According to the May 2021 SSA Audit Results, 96% of searches were legal. For

June 2022 that rate improved to 97%.

          To further contrast DOJ’s conclusion with reality, below is a summary of the findings

of the audit report, as approved by DOJ:

             •   SSA Incidents - Scorecard has an overall score of 90%. It shows
                 continuous improvement over previous audit score of 87%.

             •   SSA Procedural Justice - Scorecard has an overall score of 98%. It
                 shows continuous improvement over previous audit score of 94%.

             •   Stops Subjects - Scorecard has an overall score of 97%, which
                 shows continuous improvement over the previous score of 93%.

             •   Searches Subjects - Scorecard has an overall score of 93%, which
                 shows continuous improvement over the previous score of 79%.

             •   Arrests Subjects - scorecard has an overall score of 96% which is
                 still compliant. The previous audit score of 99% did not include the
                 new question regarding “Miranda Given, if required”. This metric
                 scored 87% in this initial review, which lowered the overall score
                 of the audit area.




21
     Rec. Doc. 680-2 at 22.
                                                                                                10
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           •   SSA – Probation & Parole - Scorecard has an overall score of 96%.
               It shows continuous improvement over previous audit score of
               93%.

           •   SSA - Consent to Search –Scorecard has an overall score of 88%,
               which shows nearly flat over the previous score of 87%.

           •   Consent to Search – Subject scorecard has an overall score of 20%.
               Overall scores impacted by policy issues with Public Safety Rides.
               Five of the 8 incidents audited were for courtesy rides, and 2
               were Crisis Interventions, and 1 Incident to Arrest. These
               deficiencies have been addressed with the publication of the new
               Public Safety Ride (PSR) Policy 10. 1

           •   SSA – Strip & Cavity –Scorecard has an overall score of 90%,
               which shows slight improvement over the previous score of 87%.

           •   Strip & Cavity Search – Subject scorecard has an overall score of
               94% compared to the previous score of 100%. 22

This is indicative of what NOPD’s daily existence under the DOJ’s thumb looks like. What is

the point of the costly and exhausting Decree if DOJ can cherry-pick individual statistics and

ignore the body of compliance metrics the parties contractually agreed would control? The

DOJ has routinely acknowledged that it works hand-in-glove with the Monitors at every phase

and is convinced the audit methods are sound. 23 Pursuant to the terms set between the parties,

NOPD is compliant with the SSA section of the Decree. DOJ’s objection to a compliance

finding is meritless.

2.      Bias-Free Policing (Section VIII)

        The Decree unequivocally requires the Monitor to report on each and every section of

Decree at least annually, unless a section is already deemed compliant by all parties. 24

Moreover, the Decree requires the Monitor to spell out to NOPD the necessary steps to reach


22
   Rec. Doc. 682-1, Oppo. Ex. 1, SSA Audit by NOPD.
23
   See, e.g., Exh. 116, at 77:1-5.
24
   Consent Decree (Rec. Doc. 565) at para. 452.
                                                                                             11
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compliance on a quarterly basis. 25 For Section VIII, Bias-Free Policing, the Monitor did not

create the methodology or conduct the analysis to measure compliance. The Monitor

repeatedly announced how difficult the analysis was to formulate in a manner that generated

useful data on bias. The Monitor, DOJ and NOPD all agreed that trying to interpret statistics

beyond those already used in the SSA section would take time, and that there was no model to

follow. Nowhere in the Decree did it state that NOPD would have to forge the first statistical

model to test for bias.

          NOPD began working with the DOJ and OCDM in 2020 (over seven years into the

process) to develop a bias-free audit methodology. A finalized protocol for the first-ever audit

was firmed up in February 2022. Not until 2022 – after almost a decade and $15 million in

monitoring fees – did the Monitor and DOJ finally agree to testing methodologies. Then they

had NOPD do the audit that is required to be done by the Monitor. As the audit report notes,

“[i]t is important to note that the group did not have the benefit of a guide or SOPs from other

departments to aid in the design of the audit.”) 26

          The audit report by NOPD (every word of which is approved by DOJ) warns about the

limited utility of the data generated, stating that, “[i]t is important to note that a disparity in

the data does not conclusively mean bias exists but NOPD is committed to further

investigating disparities identified by data analyses and implementing programs in an attempt

to resolve them.” Id. The initial results were so inconclusive that DOJ wanted more testing. Its

own experts developed a “Veil of Darkness” test with complex inter-twilight comparisons that

are novel, at best. Id., at 10. These seek to find indicia of bias in the treatment by comparing



25
     Consent Decree (Rec. Doc. 565) at para. 457.
26
     Oppo. Ex. 3 at 9, Rec. Doc. 682-3.
                                                                                                      12
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the same time of day when that time is dark compared to when that time of day is light – i.e.,

can the officer see race when deciding to make a stop. (Tinted windows and other visual

limitations are not accounted for in the analysis.) Even applying these novel DOJ tests, the

conclusion was that, “[t]he bias-free audit found the majority of the results to be positive and

identified few areas of improvement. For example, the audit found no disparities in the

decision to stop, pat down searches, uses of force, and handcuffing.”

          One result was that white drivers were more likely to be pulled over than black or

Hispanic drivers. If useful, this statistic would find bias against white drivers. Another

statistic, if applied literally, holds that less black drivers who are pulled over are arrested by

NOPD officers. This, DOJ claims, is evidence of bias against black drivers. This assumes the

basis for the stops must have been unsupported if an equal number of black drivers was not

arrested after being pulled over. The report makes no effort to consider socio-economic

impacts on these results. Were a higher number of less-wealthy drivers are arrested because

once pulled over they have a higher rate of driving without insurance, lapsed registration,

pending warrants, etc? The statistics are silent. But DOJ clings to the faintest claim of bias to

justify perpetual federal control. This is not the agreed upon standard for determining

compliance.

          a)     Translations for people with limited English proficiency.

          DOJ also claims bias in NOPD’s services to people that do not speak English

proficiently. The Decree requires NOPD to translate six (6) documents into Spanish and

Vietnamese. 27 NOPD translated each of the six required documents by 2021. In addition to




27
     Consent Decree (Rec. Doc. 565) at para. 189(j).
                                                                                                     13
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the six documents identified by the Decree, NOPD has translated an additional 33 documents.

Despite this fact, DOJ claims that “[t]his struggle for people of New Orleans who have

limited English proficiency is precisely what the Decree aimed to remedy—and the City’s

own data show the lack of initial and sustained compliance.” 28

          Here again, DOJ focuses the court and the press not on the agreed upon compliance

and measurable criteria, but individual data points and moved targets of DOJ’s choosing. For

example, DOJ cites an email from 2022 regarding a contract for electronic interpretation to

support an assertion that NOPD has not complied with the Decree by failing to provide

“commonly used forms translated into Spanish and Vietnamese.” 29 DOJ’s position is

intentionally vague, implying to the uninformed reader that NOPD has not translated its

documents as agreed.

          DOJ and the Court know this is not true as the 39 translated documents and policies

have been listed on NOPD’s webpage and reported to the Court in multiple prior NOPD

reports. See, e.g., 2021 LEP Annual Report (posted on NOLA.gov), at p. 4 (Listing all of the

documents translated including the six (6) required by the Decree 189(j); March 2022 -

August 2022 LEP Audit Report (posted on NOLA.gov); and September 2021 - February 2022

LEP Audit Report (posted on NOLA.gov).

          The truth is that NOPD has translated all of the documents required by the Decree and

continues to translate additional documents and polices on an on-going basis. The DOJ’s

position is unsupported by the facts or the Decree. As DOJ’s own policies warn, objective




28
     Oppo. at 22, Rec. Doc. 682.
29
     Oppo. at 21, Rec. Doc. 682.
                                                                                                14
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criteria should reduce goal shifting. But here, even where the criteria for compliance is tied to

an easily quantified dataset, DOJ will not concede compliance.

       DOJ also alleges NOPD has failed to provide translations at the scene of a call. As

DOJ is aware, NOPD has been consistently improving in this area. It will take time to recruit

more multi-lingual officers, but NOPD has policies in place to encourage and retain such

skills. Moreover, the most recent audit data shows that DOJ’s chosen statistics do not

represent the current situation.

       The next audit showed an improvement in responses to LEP calls through authorized

measures and recruitment of certifying additional officers to provide authorized

interpretations. See September 2021- February 2022 audit report at Nola.gov. The audit

results show that NOPD received 530 calls and requests for LEP services to be assessed. Of

the 530 calls, 221 calls were assessed during the audit. It was determined that 141 calls

received interpretation services from an Authorized Interpreter, 26 calls received

interpretation services provided by VOIANCE via the Electronic Devices, and 29 calls

received interpretation through an unauthorized source (bilingual officer not certified as an

Authorized Interpreter, google translation, or friend, family member or bystander), with an

additional 35 instances where an Authorized Interpreter (31 interpretations by AIs) or

Interpreter (4 interpretations using the interpretation device) via the interpretation device was

used for interviews and/or interrogations. NOPD has certified and approved four (4)

additional NOPD personnel members to become Authorized Interpreters to increase the total

number of Authorized Interpreters to 30 (28 Spanish Interpreters and two (2) Vietnamese

Interpreters). During the audit period, NOPD received one citizen complaint by PIB for LEP

services not provided or poorly rendered. Through VOIANCE the Language Access

                                                                                                15
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Coordinator (LAC) was able to track and monitor the use of the Electronic Device by the

Department.

          The following audit (March 2022 - August 2022) shows another increase of authorized

interpretation at 492 NOPDAI usages, and additional 68 electronic devices uses, one

unauthorized interpretation was provided by a City employee but not an NOPD employee,

and 13 calls where the translation need was not met. Nine (9) of that group of 13 occurred

where the interpreter was no longer needed. The facts demonstrate that the NOPD has

achieved substantial compliance in this area as well.

3.        Use of Force (Section III)

          DOJ admits the Monitor publicly announced that NOPD had reached full and effective

compliance with Use of Force in 2019. And as the Court has announced, “[u]ses of force are

consistently reported and evaluated by thoughtful supervisors and leaders.” 30 And the

progress in the use of force in New Orleans is something DOJ should celebrate as an example

of achievement under a Decree. Instead, DOJ seeks to maintain control by ignoring systemic

pattern and practice success and micro-level disciplinary proceedings to focus on

unrepresentative statistics, and individual officers failing to follow NOPD policies.

          Again, refusing to abide by its agreement, the Plaintiff, United States Department of

Justice, asserts as follows, as if the parties had not agreed to a controlling metric for

compliance: “[t]he City did not submit any evidence that NOPD officer uses of force are

constitutional and consistent with the Decree requirement.” 31 This is manifestly untrue and

misleading as to the entire Decree process. Use of Force has been monitored extremely


30
     Exh. 116, at 7:17-18.
31
     Oppo. at 27, Rec. Doc. 682.
                                                                                                  16
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closely by the Monitor according to terms demanded by DOJ. The Monitor issues reports as

does NOPD. “A wealth of data is shared with the public on NOPD’s

website so the public can help hold the NOPD accountable for its behavior.” 32 Again, what is

the point of this process if DOJ will create its own criteria for success once its control is

threatened?

          DOJ was extensively engaged in the drafting of the audit and review methodologies

that were used to collect and measure “the evidence that NOPD officer uses of force are

constitutional and consistent with the Decree requirement.” Unable to refute NOPD’s

compliance based on the agreed upon metrics, DOJ again seeks to grab random statistics out

of context to obscure the audit findings and create soundbites for the press. DOJ weakly

proclaims “the high rate of unjustified forces raises concerns” about NOPD’s compliance.

DOJ’s theoretical concerns are not the measure by which federal control over a sovereign city

department is triggered. If all the DOJ can muster is concern after 10 years, then it needs to

move on to another City with less theoretical needs for DOJ’s guidance.

          As with any statistic, context is critical. In 2021, there were 30 cases presented to the

Use of Force Review Board. As DOJ notes, 15 were deemed by NOPD’s review to be “not

justified.” What DOJ knows but does not state is that nine (9) of those were based on a policy

violation, not an unreasonable use of force. This is a critical distinction. The rate of force use

is down drastically, and every use of force is closely and strictly evaluated with significant

penalties being administered where violations occurred. These are not the systemic concerns

DOJ raised to create federal jurisdiction – i.e., violation of Forth and Fourteenth Amendment




32
     Exh. 116, at 7:15-17.
                                                                                                  17
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rights. The extremely rigid disciplinary system used by NOPD today is always going to

generate more “not justified” findings because the review is now hyper critical in the pursuit

of zero unreasonable uses of force. A summary of every use of force review proceeding in

2021 is attached as Exh. 100.

         The DOJ also chose to rely on the OIPM 33 report as its source for hand-picked

examples. But what does the OIPM say about NOPD’s use of force? Contrary to the picture

DOJ put forth for public consumption, OIPM data shows that NOPD’s use of force has

declined both in quantity and severity over the years. And critical incidents (as used by

OIPM), those incidents that gave great weight to the DOJ’s 2011 report, have plummeted over

the years.




33
     Office of Independent Police Monitor for New Orleans.
                                                                                             18
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       It is a disservice to the public and NOPD’s officers for DOJ to ignore the incredible

achievements of NOPD in reducing uses of force. It is a damnation of the illusory benefits of

Decrees for DOJ to seek to maintain control over NOPD by staring at trees, blinded by the

forest of continued and sustained improvements in constitutional policing before them.




       Far worse than the above examples of focusing on real, but isolated incidents, DOJ

also seeks to tarnish NOPD with disproven conspiracy theories from the press. With access to

every file in NOPD, there is no valid reason to troll old conspiracies as a basis to support

continued federal control of a sovereign city agency.

       Specifically, DOJ cites at page 10 of its opposition brief that there was “[a]n alleged

conspiracy among NOPD officers in the 8th District to provide false testimony concerning an

11 arrest.” DOJ knows the fact that five (5) officers of an 8th District task force had criminal



                                                                                                 19
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and administrative allegations levied against them. The disciplinary system for NOPD

determined the criminal and administrative claims were unfounded. The FBI (of the same

Justice Department as DOJ) was informed of and given access to the information regarding

the case.

          The FBI did not pursue any actions after the NOPD investigation found the claims

unfounded. Rather than state these facts, DOJ repeats the disproven conspiracy theory with

the only goal of tarnishing NOPD’s reputation so as to justify continued DOJ control. This is

the modern DOJ consent decree. The criteria required by the Decree also show that the NOPD

has achieved substantial compliance with the Use of Force requirements of the Decree.

         a)       Consent Decree Restrictions on Vehicle Pursuits

          The Court has noted the public and officer concerns regarding NOPD’s ability to fight

crime by chasing criminal suspects that flee arrest. As the Court has announced, NOPD policy

does not prohibit all vehicle pursuits. 34 NOPD policies were amended to comply with the

Decree and restrict vehicle pursuits by officers to those that risk. The policy follows a national

trend in weighing the benefits of pursuits versus the damage to property and life that they risk.

It is not a constitutional requirement, but a policy choice agreed to by the City in the Decree

process.

          To convince the Court that NOPD requires years more federal control, DOJ fuels press

articles about deadly vehicle pursuits to again impugn the NOPD’s reputation as a

professional police force. DOJ, in April of 2023, asserts in its opening paragraphs that NOPD




34
     Exh. 118, at 7.
                                                                                               20
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“has engaged in dangerous pursuits.” 35 It bolsters this view by retelling the horrific events of

the March 20, 2019, pursuit of a stolen vehicle – more than four years ago. This rhetoric is not

helpful or accurate in the present context. As a result of that event, DOJ notes NOPD cracked

down severely on vehicle pursuits. As proof, NOPD opened disciplinary investigations

against 37% of the officers that chased a criminal suspect in the sampled data. 36

        While a percentage of pursuits will always be deemed outside of NOPD’s strict policy,

the public should know these are examples of NOPD officers trying to fight crime, trying to

make the city safer. And pursuits are not violations of the Fourth or Fourteenth Amendment

rights of the fleeing suspects, they are potentially violations of NOPD’s strict policy against

vehicle pursuits in all but the most extreme situations.

        DOJ also cites a 2022 event as example of NOPD’s alleged unconstitutional policing.

In this case there was a 35-second vehicle pursuit of armed suspects that tried to carjack an

off-duty police officer. The officers in the brief pursuit did not get adequate authorization

from a supervisor as required by policy. Tragically, a pedestrian was struck and injured by the

fleeing suspects, requiring a night in the hospital. 37 The disciplinary process found the officers

that pursued the armed carjackers violated policy and they were appropriately disciplined. The

process worked.

        Again, as DOJ’s quotes, “[t]he whole point of negotiating and agreeing on a plethora

of specific, highly detailed action plans was to establish a clearly defined roadmap for




35
   Oppo. at 2, Rec. Doc. 682.
36
   Oppo. at 25, Rec. Doc. 682.
37
   Oppo. at 25, Rec. Doc. 682.
                                                                                                  21
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attempting to achieve the Decree’s purpose.” 38 Despite this, DOJ ignores the highly detailed

testing methodology to determine compliance with the Decree, instead cherry-picking events

to say they better represent the tens of thousands of interactions between NOPD officers and

the citizens of New Orleans. The testing methods agreed upon show substantial compliance

has been reached, but DOJ looks elsewhere.

4.      Supervision (Section XV)

        “As you’re going to hear, NOPD has met its obligations under the supervision section

of the consent decree…it’s important that we recognize that moving into the green does not

mean everything is perfect, but it does mean [NOPD] is compliant.” 39 Not only is NOPD

complaint with expansive elements of the Decree, but it has created a model system. As the

Court noted, “[supervision] is a major element of what was required by and requested by the

Department of Justice… And you’ve really – I think this is a model of a system…” 40 “A

Fortune 500 company would be proud to have the kinds of processes that you have

implemented.” 41 This model system of April 2022 could not have been broken so quickly as

DOJ asserts now.

        To support its new position, DOJ incorrectly asserts, for example, that “the City

admitted that only 10 of the 34 sergeants in the Public Integrity Bureau completed the

required training.” 42 Incorrect. The City admitted that 10 of the recently promoted sergeants

completed the 40-hour PIB Supervisory Training. That is not the same as DOJ’s claim that 24



38
   Oppo. at 14, Rec. Doc. 682; quoting Frew v. Janek, 780 F.3d 320, 328 (5th Cir. 2015).
39
   Monitor testimony, 4/22/2022, Exh. 116, at 20:13-21.
40
   Exh. 116, at 44:9-15.
41
   Exh. 116, at 58:24 – 59:4.
42
   Oppo. at 27, Rec. Doc. 682.
                                                                                             22
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sergeants assigned to PIB have not received all of their PIB training. As DOJ knows, of 20

commissioned officers in PIB, just three haven’t completed their training and only one of

them is a sergeant. All three are scheduled to attend the May class.

Of the civilian investigators, five have had the training and seven are new hires that are not

handling cases. They are scheduled to go to the May training. DOJ’s picture is intentionally

misleading. The status of this area is best summarized by trial counsel for the DOJ:

                 The United States is pleased to come alongside the NOPD and the
                 court monitor today to recognize the work that the city has done to
                 bring Section XIV, performance evaluations and promotions and
                 Section XV, ensure substantial compliance. It is fitting that these
                 two sections come into compliance together today as they are
                 highly interrelated.” 43

DOJ’s brief does not present accepted compliance evidence to demonstrate that this area has

fallen out of full and effective compliance, much less substantial compliance.

5.        Misconduct (Section XVII)

          DOJ repeats the conclusions from the Monitor’s 2022 Annual Report regarding

Misconduct. There was no 2021 Annual Report prepared by the Monitor to compare its

current opinions. NOPD generally agrees with five of the Monitor’s recommendations for

improvement, but disagrees with the following:

          Paragraph 381. The rotations of Lieutenants into PIB have reasonably resumed since

the passing of COVID-19 restrictions, the scheduling strains including Bayou Classic, the

bowl games, Christmas, New Years and carnival season. The Monitors acknowledged that

“with regard to 2023, PIB was able to demonstrate its rotation program has been re-energized

and that it has a schedule to ensure every lieutenant spends at least one week in PIB”.


43
     Exh. 116, at 76:9-14.
                                                                                                 23
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       Paragraph 382. PIB required each investigator to participate in 8 hours of annual

training. This training includes interviewing techniques and best-practices along with

interrogation techniques and best practices. Detective training is in addition to PIB’s in-

service training.

       Paragraph 383. PIB has conducted integrity checks. The Monitoring Team

acknowledged reviewing 57 integrity checks conducted by PIB in 2022. Secondary

Employment abuses is a measure described in the Decree that is subject to integrity checks.

The Monitor finds PIB non-compliant seemingly for not conducting certain types of integrity

checks with the benefit of hindsight.

       Paragraph 424. PIB has created a standing operational directive with the City

Attorney’s office for a monthly working group conference. This collaborative focus group

discusses policy and procedures impacting investigations and discipline. This has resulted in a

working group on March 29, 2023, and April 19, 2023.

       The remaining five (5) paragraphs are being addressed and the non-compliant nature

reflects the audited period only and not NOPD’s current compliance. Again, based on the

measures of substantial compliance articulated by the Fifth Circuit Court of Appeals, this

section remains in compliance with the Decree.


III.   DRASTIC MODIFICATIONS HAVE RENDERED FURTHER ENFORCEMENT
       INEQUITABLE UNDER RULE 60(B)(5)

       A.      NOPD and the City have been deprived of the neutral arbiter
               contemplated by the Consent Decree.

       The City of New Orleans is a sovereign state governmental body, constitutionally

empowered to govern and regulate its political affairs without interference up to the point



                                                                                              24
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such affairs have been delegated to the United States. 44 Through the execution of a Consent

Decree in 2013 the City ceded certain of its sovereign rights regarding the policies and

conduct of its police department to the United Stated District Court for the Eastern District of

Louisiana. The City agreed to: (a) incorporate the Decree’s requirements into policy; (b) train

officers as necessary to fulfill their responsibilities pursuant to the Decree’s requirements; and

(c) ensure that those requirements are being carried out in actual practice. 45

        The City contends that in the noble pursuit of world class institutional reforms the

Court has exceeded the broad discretion provided by Article III and the Decree. 46 The Court

has reiterated multiple times since the City’s motion was filed eight months ago that it is the

“monitor” defined in the Decree. This interpretation of the Decree then allows the Court to

directly contact NOPD and City employees, and to communicate with the press about the

pending litigation as the “monitor.” As the City has noted, it respectfully disagrees with this

interpretation of the Decree and asserts that the Court’s functions as monitor represent a

fundamental change to the terms of the Decree. These changes render the process drastically

more onerous and warrant termination of the Decree pursuant to Rule 60(b)(5).




44
   See USCS Const. Amend. 10 (“The powers not delegated to the United States by the
Constitution, nor prohibited by it to the States, are reserved to the States respectively, or to
the people.”); see also, Kansas v. Colorado, 206 U.S. 46, 90-91, 27 S.Ct. 655, 664, 51 L.Ed.
956 (1907), and , Frew v. Hawkins, 540 U.S. 431, 441, 124 S.Ct. 899, 905, 157 L.Ed.2d 855,
865 (2004) (“If not limited to reasonable and necessary implementations of federal law,
remedies outlined in consent decrees involving state officeholders may improperly deprive
future officials of their designated legislative and executive powers. They may also lead to
federal-court oversight of state programs for long periods of time even absent an ongoing
violation of federal law.”).
45
   See Consent Decree (R. Doc. 565) at para. 447.
46
   See, e.g., In re Gee, 941 F.3d 153, 159 (5th Cir. 2019).
                                                                                                  25
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        The Decree sets out the role of each party, the Monitor, and the Court, as separate and

distinct. See, e.g., Consent Decree (Rec. Doc. 565) at paras. 23, 451, 478, 479, 480, 483, 484,

491, 492. Conflating the roles of the Court and the court-appointed monitor under the Decree

deprives the City of the neutral arbiter of disputes set out in that controlling agreement. That

is the purpose behind American Bar Associations’ Model Code of Judicial Conduct, Canon

2.9(C) “Ex Parte Communications,” which reads as follows:

               A judge shall not investigate facts in a matter
               independently, and shall consider only the evidence
               presented and any facts that may properly be judicially
               noticed.

The Code of Conduct for United States Judges has similar guidance at Canon 3. Both rules

highlight the inequity of having the Court serve as the investigator of NOPD’s daily

compliance efforts, conducting meetings with groups of City employees to guide hiring and

other services, and assigning tasks directly to them. 47 For the Court to function in this role

deprives the City of a neutral arbiter of highly contested issues. While certainly well intended,

and generally helpful, this role is simply not within the jurisdiction of the Court.

1.      Ex parte cannot be the norm.

        Interpreting the Decree to cast itself as the monitor referenced in Paragraph 472, the

Court has engaged in extensive ex parte communications with City and NOPD employees

outside of the presence of legal counsel or their supervisors. Ex parte communications by the

Court with the employees of litigants is generally prohibited. As the Code of Conduct for

United States Judges explains:




47
  See, e.g., Exh. 104, “NOPD Consent Decree Retreat Week” agenda; and Exh. 101, email re
hiring status of individual recruits.
                                                                                                  26
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               Except as set out below, a judge should not initiate, permit,
               or consider ex parte communications or consider other
               communications concerning a pending or impending matter
               that are made outside the presence of the parties or their
               lawyers. 48

There are exceptions that allow for ex parte communications with litigants about ongoing

litigation, but such exceptions should be rare, not the norm. The City has objected to this

practice and asserts that it has irreparably harmed the City’s efforts to demonstrate

compliance with the terms of the Decree. 49 Any assignment by the Court to a City or NOPD

employee is effectively a new injunction by a United States federal district court. The lack of

formal recordation of these injunctions directing NOPD and City employees to respond to

Court-issued assignments deprives the City of its due process rights to challenge such orders

and prejudices the City’s ability to present its basis for compliance unaffected by points of

information outside the litigation. 50 This harm is irreparable and ongoing.

        The Court’s April 3, 2023, Order directing NOPD and City personnel to prepare

presentations on various topics to inform the community was an example of the injunctions in

question. The Court relied on Paragraph 12 for its authority, but the United States Fifth

Circuit Court of Appeals clarified that reliance on that paragraph did not authorize the Court

to order public presentations not required by the Decree. See Rec. Doc. 684.

        That public event was to include an update to the Court regarding traffic cameras and

radar vehicles. As a monitoring team member relayed to NOPD staff, the Court expected to be




48
   Code of Conduct for United States Judges, Canon 3(A)(4).
49
   See Motion to Reconsider at Rec. Doc. 643.
50
   See Exh. 107, Zimmer 2/17/23 letter to the Court.
                                                                                                27
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updated on these topic by NOPD. 51 These are not Decree items and tasking NOPD with such

reporting is outside the Court’s jurisdiction. 52

        In another example, during a weekly hiring meeting held by the Court with numerous

NOPD employees, the Court directly instructed the head of the NOPD’s Crime Lab to prepare

a procurement report for the District Court by the end of that week showing what resources

were needed to get the DNA lab up and running. This came soon after certain city council

members declared the need for a DNA lab in New Orleans to combat crime. 53 The Decree

does not have any requirement for this report, or a DNA lab. No NOPD supervisor or legal

counsel was contemporaneously informed of this injunction to the NOPD employee. 54

        These weekly hiring meetings require NOPD employees to convey detailed

information about the hiring process that are not covered by the Decree. See, e.g., Exh. 101,

emails from the Court to NOPD personnel regarding the status of medical and psychiatric

exams for specific recruits. And on at least one occasion the Court invited City Council

member Helena Moreno to attend the meetings. This blending of city legislative and federal

judicial authorities to manage a local executive branch creates obvious federalism and

separation of powers concerns.

        In another example, the Court directly tasked an NOPD Deputy Superintendent to get

an organizational chart while he was patrolling a Mardi Gras parade on foot. He completed




51
   Exh. 109, March 20, 2023, Viverette email.
52
   See also, Exh. 120, email re topics assigned to NOPD for discussion.
53
   See Natasha Robin, 2/15/203, “Battling for New Orleans: How rapid DNA testing could
prevent future crimes,” at https://www.fox8live.com/2023/02/16/battling-new-orleans-how-
rapid-dna-testing-could-prevent-future-crimes/.
54
   Exh. 107, Zimmer letter to Judge Morgan, 2/17/2023.
                                                                                                28
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the assignment while performing the critical patrol task. 55 Nothing in the Decree envisions the

Court making direct assignments to City employees. In sum, these functions amount to

investigative efforts, not authorized by the Decree.

        For the cancelled April 3, 2023 Loyola public meeting the Court relayed through the

Monitor that an NOPD employee needed to make a public presentation on the NOPD’s

homelessness initiatives. 56 Homelessness is an important public concern, but not part of the

Decree (outside of the requirement for constitutional treatment of all residents). No supervisor

or legal counsel was included in this directive from the Court, through the Monitor, to an

NOPD employee to prepare for and testify before the Court and press, on behalf of NOPD,

about an area completely outside the Decree.

        The Monitor is authorized to access information from NOPD employees relevant to its

role in preparing public reports. The Court is not authorized to direct NOPD employees to

make public presentations about topics of interest to the Court. Again, this ex parte conduct

inequitably harms the NOPD and its efforts to build a functional command structure. It also

prioritizes NOPD’s limited resources on tasks of importance to the Court over those of the

Superintendent and other elected officials. That is the very management that is prohibited by

the Decree at paragraph 445, 57 and was the great concern of the founders regarding “Our

Federalism.” Younger v. Harris, 401 U.S. 37, 44 (1971).




55
   See Exh. 119, email from the Court.
56
   Exh. 122, Email string including February 13, 2023, email.
57
   Consent Decree paragraph 445 (“The Monitor shall only have the duties, responsibilities,
and authority conferred by this Agreement. The Monitor shall not, and is not intended to,
replace or assume the role and duties of the City and NOPD, including the Superintendent.”)
                                                                                                29
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        During a visit to the NOPD Academy on February 7, 2023, the Court directly

instructed NOPD employees to: (i) paint the interior walls, (ii) clean the carpet, (iii) repair the

exterior lighting system, (iv) replace the air filters, and (v) replace water stained ceiling tiles

throughout the building. 58 These injunctions were not recorded, or communicated through

counsel or the Superintendent. Management of NOPD facilities maintenance is not a function

assigned to the Monitor or the Court, and it is inequitable for NOPD employees to be forced

to comply with a federal court’s order outside the bounds of Article III or the Decree.

        As an additional example, Exhibit 123 is an email from a Monitoring team member to

convey the Court’s direction to the Superintendent’s Chief of Staff to prepare the

Superintendent to give statements at the next public hearing endorsing civilization. Days later,

the Court directed that NOPD prepare a handout for the press at the public hearing regarding

civilianization efforts, so the press does not get the story wrong. 59 These injunctions change

the process set forth in the Decree and render further proceedings inequitable. Civilianization

is an initiative important to the Court to address the national problem of decreasing officer

ranks. 60 But it is not required under the Decree. Making it, and other Court initiatives,

requirements for compliance renders the Decree more onerous than the City negotiated with

DOJ. See Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367, 384, 112 S.Ct. 748, 760, 116

L.Ed.2d 867, 886 (1992) (“Modification of a consent decree may be warranted when changed




58
   See Exh. 124.
59
   Exh. 126 3-20-23 email re: “Public Meeting handout for Press on new civilian hires”
60
   Exh. 110, Transcript 8/17/2022, at 35:19-25. (“I recognize law enforcement agencies across
the country have faced all manner of hurdles over the past two years. Crime is up and
recruiting and retention are down everywhere. New Orleans has not been immune from these
disturbing national trends.”)
                                                                                                  30
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factual conditions make compliance with the decree substantially more onerous.”) These

changes to the factual conditions of the Decree could not be predicted by the City in 2012.

          These ex parte examples are illustrative, not exhaustive, of the current administration

of the Decree. The Court is routinely instructing a litigant’s employees to perform tasks

allegedly related to the pending litigation. These are off-the-record injunctions often relying

on ex parte communications. They are beyond the four corners of the Decree and far afield of

the DOJ’s Fourth and Fourteenth Amendment claims that set the Court’s Article III

jurisdiction. The specific injunctions mentioned here may seem innocuous in isolation. The

interactions as a practice, however, evidences a constitutional crisis unfolding in real time that

is harming NOPD and the City.

          Pushing back against these overreaches puts the City in a completely inequitable

position. As has been made clear, there are direct implications for NOPD standing up for its

contractual and procedural rights. As the Deputy Monitor told the Superintendent, refusing to

comply with the Court’s “requests” would be deemed non-cooperative. 61 As promised, the

next draft report from the Monitor asserted the City had become uncooperative recently. This

process has become utterly inequitable and drastically more onerous than agreed upon.

Termination of the Decree to transfer control to the locally elected government is necessary

and appropriate.

2.        Public Statements Regarding Pending Litigation

          The Court’s decision to merge the roles of Court and Monitor as defined in the Decree

has also led to other irreparable harms. The Court’s decision meet with community




61
     Exh. 125, Zimmer letter.
                                                                                                  31
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stakeholders and inform the public about the consent decree process has put it in an untenable

position. The Code of Conduct for United States Judges Canon 3(A)(6) directs, “[a] judge

should not make public comment on the merits of a matter pending or impending in any

court…but this limitation does not extend to public statements made in the course of the

judge's official duties.” United States v. Eduardo Garcia-Velazquez, 2022 U.S. App. LEXIS

19603, at *11-12 (11th Cir. July 15, 2022), quoting Code of Conduct for United States

Judges, Canon 3(A)(6) (2019) (cleaned up).

       Public events where the Court offers opinions about the merits of the central issues in

dispute outside the context of deciding those issues, are prejudicial to the City. The Monitor is

engaged to issue public reports and explain them to the community. The federal court is not

similarly engaged. In prior years, “public hearings” were used to announce the Monitor’s

recommendation of a finding of full and effective compliance. As of April 2022, 15 of the 17

areas of the Decree had been deemed in full and effective compliance through such public

events. For those previous “public hearings,” the Monitor directed who the Court wanted to

hear from at NOPD. The DOJ joined the Monitor in editing NOPD’s presentation so that the

“public hearing” was effectively an orchestrated press conference to announce compliance,

and the City consented.

       That changed after the Mayor announced in August of 2022 that the City would seek

to end federal control after almost a decade based on substantial compliance and its impact on

the NOPD. The Court explained the expedited need for the August 17th “hearing” just after

the Mayor’s public comments was in part to respond to allegedly “inaccurate statements made




                                                                                              32
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by the City” 62 There was no motion pending before the Court except the City’s Rule 60(b)

motion to terminate, which was filed the day before and expressly not considered.

        At the “public hearing,” the Court made clear that it disagreed with the Mayor’s

statements. The Court directed the City, and ostensibly the elected mayor of the City, to speak

“accurately” and have “evidence” in hand before voicing an opinion about the Decree that

was not in line with the Court. 63 Specifically, the Court announced from the bench its

disagreement with reports attributed to the Mayor, and reprimanded the Mayor and the City to

not mislead the public. 64 These public comments, and many others from the same event, were

highly prejudicial regarding a pending matter and not part of the Court’s official role.

        It must also be noted that the Mayor’s comments were not unsupported. Even the

Monitor has acknowledged that disciplinary investigations and promotions are two areas of

complaint by NOPD officers. 65 Surveys of exiting officers have reported that the Decree is

one cause of officer dissatisfaction. For instance, Dr. Asraf Esmail, Criminal Justice Program

Coordinator and Director of the Center for Racial Justice at Dillard University, explained to

reporters that, “[w]hen you survey officers as we did last year, many of them indicated that

the consent decree was one of the reasons they were leaving the force or leaving the NOPD.”

The Police Association of New Orleans has also proclaimed that “the consent decree is

causing problems recruiting officers and it’s causing problems for officers who want to stay




62
   Exh. 110, at 6:11 – 7:6.
63
   Id., at 8:7-12.
64
   Exh. 110, at 6:24 – 9:6.
65
   See, e.g., Exh. 110, 24:25 – 25:3 (“We also have heard complaints from officers, your
Honor, about PIB what I guess they would say is over discipline.”).
                                                                                                33
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here…” 66 The inability to recruit and retain officers does impact officer safety. Officers have

sued over the Court-approved promotion process. And the Court has heard directly from

NOPD supervisors that officers complain that proactive policing puts them at more risk of

violating NOPD policy and that this concern risks officers resorting to reactive policing.

        The Court obviously disagrees, 67 but right or wrong, the Mayor has the right and an

obligation to advise her constituents about a department she was elected to manage. It cannot

be that just because the Court believes in the reform process that the Mayor, the City or the

NOPD forfeit their First Amendment rights or the right to do the job they were elected or

hired to perform. Accusing them of misleading the public from the bench is highly prejudicial

and renders further enforcement of the Decree inequitable.

        Respectfully, a strongly held desire to protect the consent decree reform effort, from

criticism is misplaced given the extreme federalism concerns at risk as it prioritizes the

Decree over the constitutional rights of the City and its residents. Horne v. Flores, 557 U.S.

433, 448 (2009) (“[I]nstitutional reform injunctions often raise sensitive federalism

concerns.”) Moreover, it puts the Court in an adversarial position to the City and NOPD. This

is inequitable and was a specific fear of the framers of the constitution in giving federal courts

equitable power to enforce judgments.

         Other comments of the Court from the bench paint the NOPD in a negative light

without any link to the expansive requirements of the Decree. See, e.g., Exh. 110, at 35:22 –

37:10. (“[D]ifficult problems call for innovative solutions, and frankly, and unfortunately, I



66
   See “Federal monitor says there’s backsliding on the consent decree; NOPD responds” at
https://www.fox8live.com/2023/03/10/federal-monitor-says-theres-backsliding-consent-
decree-nopd-responds/
67
   See Exh. 110, transcript of 8/17/2022.
                                                                                                 34
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have seen very little innovation on the part of the City or the NOPD in response to what I

view as a city crisis…. I still do not see that the City or NOPD have a holistic plan to deal

with the current emergency… To remedy this, I am going to take the following actions…”)

        The same is true of the Court’s official statements that the City was somehow

avoiding transparency by declining to participate in public meetings set by the Court. In the

order cancelling the Loyola public event, the Court asserted: “[t]he City’s communications

asserted that participation in these hearings is not a Consent Decree requirement. The Court

disagrees.” Rec. Doc. 678. The Court went on to “assure[] the public that it has heard its

requests for transparency and accountability” implying that the City, a litigant before the

Court, was seeking to hide the truth about the merits of the litigation from the public and was

failing to comply with the Decree. Id. at 2.

        Respectfully, that is inaccurate and unfair to the City. The City and NOPD have been

completely transparent throughout. It is the Monitor, not the City, that has sought to keep

compliance related meetings secret under the guise of settlement discussions. 68 The Fifth

Circuit’s ruling and the subsequent vacatur of the public event does not erase the harm done

to the City, and specifically to NOPD’s community engagement efforts, by these public

statements. More pointedly, they have rendered the process more onerous, inequitable and

impracticable and has left the City without the independent and neutral “court” required under

the Decree.




68
  See Exh. 102, Douglas email re using FRCP 408 to seal discussion regarding compliance
with the Court.
                                                                                                35
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3.       The prohibition on management has been so repeatedly violated that it has harmed
         NOPD's supervisory structure.

         Recognizing the inherent threat (and inefficiency) of direct federal court management

of a local governmental body, the drafters of the Decree made clear that the Monitor’s role

was limited to the evaluation of progress. Direct management is expressly prohibited at

Paragraph 445. Despite that prohibition, the Court has moved from its judicial role to that of

Monitor, and then into manager of NOPD.

         The City Attorney in 2018 objected to the District Court about Monitor conduct that

equated to management and reported that the City’s concerns had been met with “disdain.” 69

The Monitor responded on behalf of the District Court to this objection – about the Monitor –

dismissing the concerns out of hand. 70 The breadth of the involvement of the Court and the

Monitor in root level management of NOPD has only expanded since that well founded 2018

objection.

         The Monitor has followed the Court’s lead, working to manage NOPD without any of

the constraints placed on a city employee answerable to a supervisor and an electorate. For

example, earlier this year the Monitor called the Superintendent and demanded that certain

personnel changes be made to satisfy the Monitor’s desires regarding the ongoing

investigation of a highly publicized officer assigned to the Mayor’s protection staff. The

Superintendent listened to the Monitor’s demands and declined to move the personnel. She

was certain her personnel plan would accomplish NOPD’s goals and complete the Vappie

investigation properly and on time. On January 12, 2023, undeterred by the Superintendent of

NOPD’s decision, the Monitor sent an email directly to a subordinate of the Superintendent,


69
     Rec. Doc. 568.
70
     Rec. Doc. 569.
                                                                                               36
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without copying the Superintendent, tacitly instructing that specific people be assigned to the

investigation. 71

        This email came after the Monitor spoke directly to the Superintendent who rejected

the reassignment request. Ignoring the answer from the head of the NOPD, the Monitor then

went behind the Superintendent’s back and tried to get her subordinate to do his bidding

anyway. 72 The disregard for basic concepts of investigational integrity, NOPD’s chain of

command, and federalism in the Monitor’s tacit demand is striking.

        The Monitor is charged to draft audit protocols and test that NOPD (i.e., Public

Integrity Bureau, in this example) investigations are done according to policy and that NOPD

supervision is effective. See Consent Decree at para. 444. The Monitor – the declared “eyes

and ears” 73 of the Court – is not authorized under the Decree to direct, even tacitly, by whom

and how a specific politically sensitive PIB investigation is to be conducted. The

Superintendent is the head of the police department and the Monitor is prohibited from

interfering in that function. See Consent Decree at para. 445. And public comments about the

investigation should be made by the Monitor while the investigation is pending. 74

        The Superintendent appropriately responded to the overt violation of her command

structure explaining: “Mr. Aronie, going forward, please direct any request or suggestions



71
    See “Council members call for federal monitors to investigate Cantrell’s possible conflicts
of interest”, 11/10/2022, at https://www.fox8live.com/2022/11/10/council-members-call-
federal-monitors-investigate-cantrells-possible-conflicts-interest/
72
   Jonathan Aronie email, January 10, 2023, attached as Exh. 113 [italic emphasis in original,
bold added]
73
    Exh. 111, transcript at 3:22-24.
74
    The Monitor then responded to press questions about the pending investigation, stating that
the Monitor stopped the investigated officer from returning to his role. See Exh. 112, at
https://www.fox8live.com/2023/03/08/zurik-vappies-return-mayor-cantrells-protection-detail-
scuttled-nopd-federal-monitor-says/
                                                                                              37
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concerning personnel changes or the detail of my command staff or essential personnel,

directly to me.” 75 The need for the Superintendent’s email evidences that the process has

veered so far from the four corners of the Decree that it has become inequitable. This is not

“monitoring,” and is not a role or process the Decree empowers the Monitor to conduct. In

fact, this is another example of the Monitor violating the express prohibition in the Decree

against the Monitor managing or supervising the NOPD. This conduct violates the Decree’s

core structure and is inequitable and has caused irreparable damage to the City. It warrants

immediate termination of the Decree pursuant to Rule 60(b)(5).

4.      Prohibited Monitor Press Statement are Harming NOPD

        The Monitor went on to publicly cast doubt, again, as the eyes and ears of the Court,

on the decision to change leadership at NOPD’s Public Integrity Bureau (PIB) in 2022,

stating, according to the press: “Aronie lamented the city’s decision to replace … the longtime

civilian head of NOPD’s internal affairs arm. 76

        Months later, the 2022 Annual Report by the Monitor claimed that PIB during time of

Aronie’s comments, was one of the few departments arguably not performing at the level it

had previously achieved. And recent news reports revealing internal PIB investigations show

there were issues warranting supervisory attention at that time. But the public would only

know the Court’s “eyes and ears” cast concern on the change in leadership at PIB long before

the 2022 report, thus painting then Superintendent Ferguson and NOPD’s command structure




75
  Exh. 113.
76
  https://www.nola.com/news/crime_police/federal-judge-praises-nopds-push-to-hire-
civilian-workers-for-low-level-police-work/article_76222e6e-3f6a-11ed-b2a8-
bb90233bc0cc.html
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with a very negative brush. The cascade of opinions outside the framework of the Decree

have harmed NOPD and undermined its efforts to show compliance.

B.      Lack of critical mandatory reporting by the Monitor

        The Decree clearly and unequivocally requires that the Monitor prepare quarterly and

annual reports on the status of compliance in each area. 77 Compliance reviews and audits are

to be completed by the Monitor – not NOPD – at least annually regarding every requirement

of the Decree, unless compliance is agreed. 78 The Monitor has failed to provide the required

quarterly reports since 2017, and the Monitor has never provided a single outcome assessment

report, which is required annually. 79 DOJ admits this and that the Decree was never amended

to allow for this change. Thus, compliance is the default presumption under the Decree in the

absence of the required reports. 80 Those reports are required to advise NOPD on what specific

steps were needed to demonstrate compliance. 81

        There was no 2021 Annual Report issued by the Monitor, and no quarterly reports

have been published since 2017. At the Court’s instruction, the Monitor did prepare a

“Technical Assistance” report in 2022, focused on ideas for retention of officers. 82 Officer

retention and job satisfaction is very important, and a challenge across the country, but unlike

the quarterly and annual reports, the issue is not mandated by the Decree and does not satisfy



77
    See Consent Decree at para. 457, “Monitor Reports”.
78
   See Consent Decree at paras. 450 and 457(b).
79
   See Exh. 106, DOJ Objections and Responses to Discovery at responses to interrogatory
No. 3 and request for production No. 4.
80
   See Monitor’s webpage for list of all reports to date, at
http://nopdconsent.azurewebsites.net/reports.
81
   See Consent Decree (Rec. Doc. 565) at para. 457(d).
82
   See Exh. 110, August 2022 Transcript, at 10:6-19; and Rec. Doc. 640, 09/12/22, Report on
Officer Trust and Job Satisfaction, Inclusion, and Retention, Efficiency and Burden
Reduction, Sustainment and Continuous Improvement, Community Trust, and Recruitment.
                                                                                                39
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the Monitor’s obligations under paragraph 457. The lack of a report that includes the specific

steps the Monitor asserts are needed to reach compliance is a material change in the terms

negotiated by the City in the settlement agreement with DOJ. The lack of access to this

information, which is fundamental to the role of the Monitor, continues to harm NOPD by

rendering compliance goals subjective and subject to change. Rec. Doc. 674.

        As the original brief in support of this motion discussed, the Monitor has also refused

to conduct the annual outcome assessments required by the Decree and essential to NOPD’s

rights under the Decree. 83 This has not changed since the motion was filed eight months ago.

The Monitor’s continued refusal to provide the City with reports necessary to satisfy

Paragraph 491 and 492 has rendered continued compliance efforts inequitable as compared to

the obligation the City agreed to undertake. As DOJ asserts, without the Monitor’s report, or

even a methodology to build the reports for the Monitor, NOPD faces an onerous challenge to

access its contractual rights under paragraphs 491 and 492. See Oppo. at 36, Rec. Doc. 682.

IV.     CONCLUSION

        “As I said in the opening, this does not mean everything is perfect. It does not mean

there’s no areas in need of further improvement, but it does mean that NOPD has reasonably

met its consent decree obligations in these areas.” 84 That is the standard at issue today. NOPD




83
   See, e.g., Consent Decree (Rec. Doc. 565) at para. 457 (“The Monitor shall file with the
Court quarterly written, public reports…that shall include…specific finding for each outcome
assessment conducted.”); id., at 448 (“Monitor shall conduct assessments to measure whether
implementation … is resulting in constitutional policing.”); id., at 446 (“…the Monitor shall
conduct the reviews, audits, and assessments specified below…”), id., at 450 (the Monitor
“shall… (b) set out a schedule for conducting outcome assessments for each outcome
measure at least annually…”); and id., at 453 (“the Monitor shall submit a proposed
methodology for the assessment, review or audit to the Parties.”) (emphasis added).
84
   Exh. 116 at 86:7-10.
                                                                                                40
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has met this threshold. Continuing efforts in the current process have been rendered

impractical, decisively more onerous, and inequitable given the unusual circumstances

surrounding by role of the Court, the conduct of the Monitor, and the DOJ’s efforts to avoid

holistic analysis of systemic conditions.

       Termination of the Decree is the proper, natural conclusion to this long and successful

process.

       Respectfully submitted, this 21st day of April 2023.

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                                  CERTIFICATE OF SERVICE

       I certify that I have served a copy of the above and foregoing pleading via Notice of

Electronic filing using this Court’s CM/ECF system to counsel of record participating in the

CM/ECF system on this 21st day of April 2023.


                                             /s/ Charles F. Zimmer II




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